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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

FEDERAL TRADE COMMISSION,                  )
                                           )
             Plaintiff,                    )
                                           )
      v.                                   )    Case No. 1:20-cv-03538 - GLR
                                           )
RAGINGBULL.COM, LLC f/k/a                  )
LIGHTHOUSE MEDIA LLC, et al.,              )
                                           )
             Defendants.                   )
                                           )



                     RAGINGBULL.COM, LLC’S REPLY
                    IN SUPPORT OF ITS BUSINESS PLAN




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       Defendant RagingBull.com, LLC (“Raging Bull” or the “Company”) and Individual

Defendants Jeffrey M. Bishop and Jason Bond (the “Individual Defendants” and collectively

with Raging Bull, the “Defendants”), by and through undersigned counsel, submit this Reply in

further support of Raging Bull’s Business Plan.

                                        INTRODUCTION

       After reviewing the parties’ submissions ahead of the preliminary injunction hearing, the

Court during a hearing on February 4, 2021 asked Raging Bull to submit a Business Plan for

operating lawfully and profitably during what could be protracted litigation leading up to a trial

on the merits in this matter. The Court directed the parties to work collaboratively on a business

plan that would allow Raging Bull to continue operating its business in a lawful and profitable

manner pending the resolution of this matter. In doing so, the Court stated that it was not

interested in seeing “a one hundred page business plan” from Raging Bull. In its Order, the Court

also noted that it would refer the matter to a Magistrate Judge to assist the effort to develop the

business plan should any party make such a request.

       From the start, however, both the FTC and the Temporary Receiver have refused to

engage in any type meaningful dialogue on these issues. On February 8, 10 days before Raging

Bull submitted its Business Plan, Raging Bull asked the FTC and the Temporary Receiver to

consent to its request for referral to a Magistrate to assist in developing the plan. Neither the FTC

nor the Receiver would agree, and the FTC for its part expressly stated that it would oppose any

business plan proposed by Raging Bull and that in their view it would be a waste of time to

discuss one.

       Despite this, Raging Bull timely submitted a succinct but comprehensive Business Plan

detailing a two-phase process that utilizes a Court-appointed, independent Compliance Monitor




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that would ensure Raging Bull would operate lawfully in order to allay the concerns of the FTC

and the Temporary Receiver. In fact, under that Business Plan, unless and until the Compliance

Monitor determines – and certifies to the Court – that Raging Bull will operate lawfully in all

respects, Raging Bull cannot send a single piece of advertising or any other marketing materials

to solicit new subscribers. Furthermore, Raging Bull’s Business Plan lays out a reasonable and

plausible plan for operating profitably. This Business Plan is conservative, and accounts for

Raging Bull’s present circumstances, its compliance plan and the industry experience of the

Individual Defendants.

       The Business Plan is a blueprint for profitability. Raging Bull provides online stock

market trading education. The FTC and the Temporary Receiver both acknowledge there is a

strong market for these services. Despite the FTC and Temporary Receiver’s cherry-picking and

overstatement of a relatively small number of customer complaints, even now most subscribers

support the Company and value its trading education services.

       The FTC opposes the Business Plan. But that is no surprise, as the FTC told Raging Bull

before it submitted the Business Plan that the FTC would oppose any business plan from Raging

Bull. True to its exhibited lack of interest and disregard in the actual Business Plan, the FTC

dedicates most of its Response to re-hashing its claims and presenting new (and false) allegations

that have nothing to do with what the Court asked the FTC to do – to respond to the Business

Plan. And the few substantive objections that the FTC raises to the Business Plan itself, however,

are based on the FTC’s misunderstanding of the Business Plan or otherwise simply lack any

substantive merit.

       In point of fact, the FTC’s Response is simply a continuation of its well-publicized – and

thinly disguised – mission to entirely shut down Raging Bull. The FTC is so focused on this




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desired outcome that it has misled the Court multiple times. This case began with a Complaint

and Motion for TRO that made at least two attention-grabbing misstatements – both of which

were later proved to be completely false.

       First, the FTC told the Court that Raging Bull was “permeated with fraud,” based on the

FTC’s purported expert, Russell Wermers’ finding that Raging Bull had trading losses of over

$56 million from 2014 to 2018, which purportedly included Raging Bull’s lead guru Jason Bond

suffering $7.5 million in trading losses. This was false – and massively so. The purported $56

million trading loss never happened. And Jason Bond did not have $7.5 million in trading losses

from 2014 to 2018. Rather, Jason Bond had a realized trading profit of over $500,000 in the

accounts Wermers reviewed during the time period of his review. After Raging Bull

demonstrated Wermers’ error, the FTC and Wermers misled the Court again – this time claiming

Wermers did not actually analyze trading gains and losses. Dkt. 145, at 10. That was false. He

did, as the title of his analysis in his report made that quite clear: “RAGING BULL’S ACTUAL

TRADING PERFORMANCE SHOWS SUBSTANTIAL AND PERSISTENT LOSSES, EVEN

DURING PERIODS OF MARKET UPTURNS.” PX26, 1777; see also id. at 1779 (“Table 1:

Summary of Gains/Losses from Available 1099-B Records”). This is the foundation of the

FTC’s case against Raging Bull – the alleged false and deceptive earnings claims.

       Second, the FTC told the Court that Defendants “prey” on the elderly and immigrants.

The FTC provided no support – the FTC simply said it and expects the Court to take it as gospel.

This was false, as Raging Bull has demonstrated. Dkt. 123, at 9, 18. The FTC then pivoted by

trying to minimize their baseless claim, saying it was only “one line from the FTC’s complaint.”

Again, not true. This false statement was in fact the second sentence in the FTC’s Motion for

TRO (Dkt. 2-1 at 1 (“Defendants prey on consumers, including older individuals…”)) and it was




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featured prominently in the FTC’s self-serving, intentionally headline-grabbing press releases

and case summaries to the public. 1

       Now, rather than seriously respond to the Business Plan, as it appears the Court directed

the FTC to do, the FTC instead focuses on false new allegations and telling the Court that Raging

Bull cannot be trusted to run its business. The FTC’s case is fundamentally about advertising that

was allegedly in violation of Section 5. Unlike the FTC, which offers only lawyer argument,

Raging Bull submitted an extensive analysis of Raging Bull’s advertising practices from an

independent expert, Dr. Yoram Wind, who concluded that the evidence cited by the FTC in

support of the FTC’s Complaint could not support a conclusion that Raging Bull’s target

audience was deceived. The FTC has not disputed Dr. Wind and does not even mention Dr.

Wind in its Response, nor has the FTC offered any qualified expert testimony in rebuttal to Dr.

Wind – a world renowned expert in consumer perception and behavior with impeccable expert

and academic credentials.

       The FTC has no plausible basis for its insistence on shutting down Raging Bull. In fact,

many businesses charged with or even found liable for unlawful advertising practices have been

allowed to continue in business provided they comply fully with the relevant requirements under

the FTC Act. Indeed, the FTC’s Complaint does not even include in its prayer for relief a

demand to shut the Company down, only that Raging Bull be required to operate in compliance

with the FTC Act going forward. Dkt. 1. The FTC Staff certainly knows how to ask for a bar

when it wants to and is able to obtain approval from the FTC Commissioners when the case was

presented to them for their consideration. Presumably, and it is reasonable to infer that, the FTC



1
 See, e.g., https://www.ftc.gov/news-events/press-releases/2020/12/scammers-leverage-
pandemic-fears-ftc-law-enforcement-partners; https://www.ftc.gov/enforcement/cases-
proceedings/2023073/ragingbullcom.


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did not get Commission approval here to do so. Thus, the TRO the FTC submitted to, and which

was entered by this Court, also did not order the shutdown of Raging Bull.

       So how did we end up here? The FTC, with the aid of the Temporary Receiver, simply

made it impossible for Raging Bull to continue to operate before the preliminary injunction

hearing by refusing to allow any of Raging Bull’s 160 employees to be paid – no matter what

function they served for the Company. Simply stated, the FTC’s goal was to “suffocate” Raging

Bull – which they did with the active aid of the Temporary Receiver. This left Raging Bull with

no choice but to furlough its employees over the December holiday season. Without employees

to service its business, Raging Bull was compelled to suspend operations pending the

preliminary injunction hearing. The FTC and the Temporary Receiver now want to preserve

Raging Bull’s temporary demise – and accomplish more than the FTC’s Complaint even seeks –

by blocking any possibility of Raging Bull’s re-starting its business while it operates in full

compliance with all regulatory requirements. Permanently shutting the Company down will

indisputably increase the Company’s liabilities, dissipate the Company’s assets, prevent

customers from enjoying the services they contracted for and put almost two hundred employees

out of work during a pandemic. Sadly, this is the FTC’s desired end.

       The Temporary Receiver also submitted a Response to the Business Plan. Rather than

providing the Court with a neutral, unbiased assessment of the Business Plan, which was his

mandate, the Temporary Receiver – who was hand-picked by the FTC – advocates for the FTC.

And despite having no known or identifiable experience or qualification to assess the lawfulness

of advertising practices or the details of a compliance plan, the Temporary Receiver claims

Raging Bull’s compliance plan “lacks specificity” sufficient for him to assess the Business Plan.

But the Temporary Receiver (apparently) misunderstands the plan and the critical role of the




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Compliance Monitor and the Court. Consistent with how Raging Bull understood the Court’s

direction in requesting a business plan – which told Raging Bull it was not looking for “a

hundred page business plan”--the Business Plan provides the working blue print for how the

Company will re-start operations and move forward in a wholly compliant and profitable manner

pending the outcome of this case. 2 If the Court – or the Temporary Receiver – wants more detail

on the proposed Business Plan, Raging Bull is fully prepared to provide that detail in whatever

granularity is needed. But the reality is the Temporary Receiver does not want it – the

Temporary Receiver simply wants to say “not enough – I can’t really say – so shut Raging Bull

down.” That is not what we believe the Court intended in its Order to the parties and to the

Temporary Receiver.

       The Business Plan, as directed by the Court, responds to the issues put forward by the

Temporary Receiver in his Initial Report, establishes a two-phase process whereby Raging Bull

can engage in no advertising or marketing whatsoever until the independent Compliance Monitor

approves the policies and certifies their lawfulness, processes and details of the compliance plan

and the Court agrees, and then only after approval in phase two will the Company be permitted

to begin to advertise its services pursuant to the specific protocols approved by the Compliance

Monitor and by the Court. And if at any time subsequent to that the Company fails to comply

with those procedure, the Compliance Monitor can then “de-certify” the Company’s practices

and thereby suspend the Company’s Phase 2 advertising and marketing activities. If the

Temporary Receiver were willing to work with Raging Bull (as directed by the Court) to identify

whatever additional detail he deems necessary beyond that in his Initial Report where he



2
 Of note, the pleadings and corresponding attachments submitted in response to Raging Bull’s
Business Plan was 187 pages for the FTC (Dkt. 188) and 58 pages for the Temporary Receiver
(Dkt. 189), for a total of 245 pages.


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concluded it was possible for Raging Bull to operate in the future in a compliant and profitable

manner, the Temporary Receiver could have either asked for those details (which he did not) or

agreed to either of Raging Bull’s requests for the assistance of a Magistrate (which he refused to

do when asked on three separate occasions); something the Receiver’s counsel had himself

suggested once before.

       In this Reply, Raging Bull attempts to address most of the Temporary Receiver’s

questions, but if the Court or the Temporary Receiver requires more details in the Business Plan

at this time that are not addressed, Raging Bull would be more than willing and able to provide

them. And if there is any lingering concern about the commitment of Messrs. Bishop and Bond

to the lawful operations of the Company, the owners of Raging Bull have agreed to make up to

$10 million of their own funds available to cover any shortfalls while the Company re-starts

operations.

       The Temporary Receiver’s conclusion that Raging Bull cannot operate profitably is also

flawed and incorrect. The Temporary Receiver and his expert, Mr. Peroutka, continue to base

their conclusion mostly on the false premise that the Company is not, and has never been,

profitable because it temporarily finds itself in a short-term “negative equity” situation from an

accrual accounting standpoint. To be clear, Raging Bull has always been a highly profitable

company. It has no outside shareholders or debt financing, pays its bills and required refunds and

employees on time (at least prior to the Temporary Receivership refusing to pay employee

payroll) and still managed to make handsome distributions to its partners. Even the FTC does not

suggest otherwise in its Response to the Business Plan.

       The Temporary Receiver’s attempts to attack the projected subscription revenues are

misguided as they are based on the purported number of “complaints” the Temporary Receiver




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has allegedly received – which is highly overstated. In fact, an examination of what the

Temporary Receiver has produced demonstrates that the revenue numbers are clearly

conservative. And, contrary to the Temporary Receiver’s claims, the revenue projections can be

met with the services of Messrs. Bond and Bishop alone, even if no other gurus returned (which

is highly unlikely).

       Likewise, the Receiver’s criticisms of the “cost” side of the ledger are unwarranted. A

significant portion of the liabilities again stem from an inflated view of the “refunds” that would

be required to be paid. As explained below, both the number of refunds and the average amount

of the refunds is simply wrong.

       Finally, the Temporary Receiver’s view of certain “contingent liabilities” is flawed as

well, and overly (and inappropriately) solicitous of the FTC’s claims. The Business Plan is a plan

for the Company to operate lawfully and profitably up to the time this litigation is resolved,

which – as the Court notes – could involve “protracted litigation leading up to a trial on the

merits some time in the distant future.” Dkt. 165. The Temporary Receiver and the FTC suggest

the Company should be permitted to operate during this time period only if it could absorb the

losses from a complete eventual FTC victory and still be profitable. But the Temporary Receiver

points to no basis for this view, which is found nowhere in the TRO. It also makes no sense

because if found liable those past liabilities will exist regardless. And if Raging Bull makes

money – lawfully, while in full compliance with the law – during this interim time period, that

will provide for a bigger pool of assets to meet those liabilities. The question before the Court is

whether Raging Bull can operate profitably during the interim time period before this case is

resolved. And the answer to that question is, yes, it can, as the Business Plan demonstrates.




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                                        BACKGROUND

       The Temporary Receiver is a go-to receiver for the FTC, having been brought in by the

FTC on at least two other recent matters. 3 In this matter alone, the Temporary Receiver, his law

firm, and accountants have incurred over $850,000 in fees and expenses as of March 1, 2021. 4 In

this case, the Temporary Receiver has acted as an advocate for the FTC, not as the neutral agent

in assistance of the Court.

I.     THE TEMPORARY RECEIVER’S CONDUCT BEFORE THE COURT’S
       REQUEST FOR A BUSINESS PLAN

       To better understand the current situation, it is helpful to briefly consider an overview of

some of the critical decisions and rationales made by the Temporary Receiver in relation to

Raging Bull. When viewed alongside the FTC’s consistent unwillingness to meaningfully

collaborate with Raging Bull, a clear pattern emerges. It is thus not surprising that the Temporary

Receiver informed Raging Bull in one of his very first conversations with undersigned counsel

that it was his intention to shut down the Company. Dkt. 28, at 17.

       The Temporary Receiver claims he does not have the authority to make any payments

from the Company’s assets without the FTC’s consent. This position is contrary to the TRO,

under which “the Receiver is directed and authorized,” without requiring the FTC’s consent, to

“[m]ake payments and disbursements from the receivership estate that are necessary or



3
  According to the FTC, “Mr. Keith has extensive experience with federal and state receiverships
and has previously served as receiver or as counsel for the receiver in cases filed by the FTC
[…]. In this District Court, Mr. Keith served as receiver in the matter FTC v. Midway Industries,
LLC, Case No. JKB-14-CV-2312 (D. Md.) and also in FTC v. Residential Relief Foundation,
Inc., Case No. JFM-10-CV-3214 (D. Md.)” Plaintiff’s Notice of Candidate for Appointment as
Receiver, Dkt. 3 at 1.
4
  The Temporary Receiver, Peter Keith, is a partner at the law firm Gallagher Evelius & Jones,
which is the law firm that represents him as Temporary Receiver. Gallagher Evelius & Jones has
approximately 55 attorneys. It is likely that $850,000 in billed fees over a three month time
period represent a significant matter for the firm.


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advisable” to “[c]onserve, hold, manage, and prevent the loss of all Assets of the Receivership

Entities, and perform all acts necessary or advisable to preserve the value of those Assets.” TRO,

Section XIV(D) and (G).

       The Temporary Receiver’s refusal to pay any Raging Bull employees without the consent

of the FTC (which was not provided) left Raging Bull with no choice but to furlough employees

and shut down all operations on December 21, 2020.

       The Temporary Receiver objected to the Raging Bull Defendants’ motion for use of

funds to pay defense costs and living expenses on the basis that Raging Bull allegedly had a

massive negative net equity every year of its existence, dating back to 2014, and paid $59 million

in unearned income in distributions to the Company’s partners and Kyle Dennis. Dkt. 117, at 7-

8; Dkt. 117-1, at ¶¶ 16-18. This same claim was a centerpiece of the Temporary Receiver’s

February 2, 2021 Initial Report. Dkt. 156, at 92-96, 108-109. This position was based on the

expert report submitted by Mr. Peroutka, the Temporary Receiver’s CPA. Mr. Peroutka was

wrong. Just like Mr. Wermers’ massive and critically important error in misstating Mr. Bond’s

and Raging Bull’s trading performance, Mr. Peroutka was wrong by a huge margin. The error

was easily avoidable, as Mr. Peroutka had unconstrained access Raging Bull’s financial records.

And his error was critically important because, in reality and under the actual accounting method

(cash-basis) that the Company properly employed, Raging Bull’s distributions were not from

unearned income and the Company has always been profitable.

       Whatever the reason for Mr. Peroutka’s mistake, what occurred after this mistake was

exposed by Raging Bull’s expert on February 19, 2021 (see Dkt. 177-1), and reveals the bias of

the Temporary Receiver. Rather than acknowledge, correct and explain how the mistake

occurred, which a neutral officer of the Court would certainly be expected to do, the Temporary




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Receiver, and his expert Mr. Peroutka, instead tried to sweep the mistake under the rug. Neither

the Temporary Receiver nor Mr. Peroutka mention the mistake in the Temporary Receiver’s

Response to the Business Plan, and instead they tried to pivot to a new (and equally erroneous)

position (discussed below at 56). This is the same move that the FTC made in ignoring and

downplaying Mr. Wermers’ error. This is the move of an advocate, not the actions of a neutral

officer of the Court.

II.    THE TEMPORARY RECEIVER DECLINES TO WORK COOPERATIVELY
       WITH RAGING BULL TO DEVELOP ITS BUSINESS PLAN

       In his Initial Status Report, the Temporary Receiver spends the bulk of the report

evaluating and supporting the FTC’s allegations, before concluding that it may be possible for

Raging Bull to operate its business if it is “truly committed to the task and willing to devote the

necessary time, attention and resources.” Dkt. 156, at 107. Taking note of and specifically citing

this conclusion, the Court in the February 4th hearing asked Raging Bull to submit a business

plan, and also directed the parties to work on the plan together and, if requested, along with the

assistance of a Magistrate.

       But the Temporary Receiver has refused to work collaboratively with Raging Bull. On

February 8th, 10 days before Raging Bull submitted its Business Plan, Raging Bull asked the

parties to agree to request a referral to a Magistrate to assist in developing the plan. The FTC

stated it would oppose any business plan so, in the FTC’s view, it would be a waste of time to

discuss one. During that call, the Temporary Receiver parroted the FTC by not agreeing to

request a Magistrate, despite the Court’s direction that the parties were to “work together

collaboratively regarding whether and how Raging Bull can lawfully and profitably operate the

business” up to trial, and the Court’s stated willingness “to refer this matter to a U.S. Magistrate

Judge to assist in these efforts upon request by either side.” Dkt. 165, 167.



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       After Raging Bull submitted its Business Plan, the Temporary Receiver vaguely

requested additional “[m]issing … information” which he considered “necessary to ascertain the

basis for RagingBull’s stated and unstated assertions and conclusions” in the Business Plan. See

Exhibit 1 hereto (2/25/21 email fr. M. Saudek). Hoping that the Temporary Receiver was finally

willing to engage in dialogue with Raging Bull about the Business Plan, on February 26th – one

day after Raging Bull’s counsel received the request and four days before the Temporary

Receiver’s response to the Business plan was due – Raging Bull responded by asking the

Temporary Receiver for clarification as to what details and materials he needed so he could

evaluate Raging Bull’s Business Plan. See id. (2/26/21 email fr. B. Doran) (asking the

Temporary Receiver for “more specificity on what you’re looking for” because “[i]t’s not clear

to us what assertions you’re referring to here”). Unfortunately, rather than engaging in any

dialogue to provide clarification about what the Temporary Receiver believed to be missing from

the Business Plan, the Temporary Receiver never even responded to Raging Bull’s email. It

seems clear from these facts that the Temporary Receiver really was not interested in getting any

details that he claimed he needed in order to more substantively evaluate Raging Bull’s Business

Plan. That conclusion is inescapable from the Temporary Receiver’s lack of any response.

       On March 1st, the Temporary Receiver submitted his Response to the Business Plan. In

his Response, the Temporary Receiver reaches a different conclusion, now “urg[ing] the Court to

reject implementation of the Business Plan,” and concluding the Business Plan “lacks the

specificity necessary for the Temporary Receiver or the Court to evaluate its potential to create a

culture of compliance.” Dkt. 189, at 1, 24. Again, this is the specificity that Raging Bull was

happy to provide, but that the Temporary Receiver pretty clearly did not actually want to get.




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       Because the Temporary Receiver criticized the Business Plan as lacking the specificity

needed for his evaluation, Raging Bull again asked the Temporary Receiver if he would agree to

request a referral to a Magistrate to assist Raging Bull and the Temporary Receiver in working

together to identify and address the specificity that the Temporary Receiver believes is needed

for an acceptable plan. See Exhibit 1 hereto (3/3/21 email fr. B. Doran) (“[N]ow that the

Temporary Receiver has reviewed and responded to Raging Bull’s business plan, and has

objected that it lacks specificity, we believe a Magistrate could be very helpful at this time to

assist Raging Bull and the Temporary Receiver to work through the specificity that the

Temporary Receiver believes is needed for an acceptable plan.”). Raging Bull understands that a

Magistrate is needed to facilitate any productive discussion between Raging Bull and the

Temporary Receiver because (a) based on the many tens of hours spent by Raging Bull and

counsel in negotiations with the Receiver over the payment of expenses to maintain the

operations of the business it is clear (see Dkt. 107, 107-1) that the Temporary Receiver

consistently looks to the FTC for “consent” to the Temporary Receiver’s decisions, and the FTC

expressly stated it would oppose any business plan; and (b) when Raging Bull tried to engage the

Temporary Receiver in a dialogue about the details of the Business Plan, the Temporary

Receiver completely ignored Raging Bull.

       Unfortunately, the Temporary Receiver again rejected Raging Bull’s request. The reason

provided for this rejection reveals the Temporary Receiver’s view that his real function is to

support the FTC and its case. Counsel for the Temporary Receiver stated the Temporary

Receiver was uninterested in a dialogue about the Business Plan “to potentially learn more about

Raging Bull’s efforts to devise a proposed compliance plan, the express purpose of which is to

avoid a resolution of the FTC’s claims.” See Exhibit 1 (3/4/21 email fr. M. Saudek) (emphasis




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added). Of course, the Business Plan is not an impediment to the FTC’s claims; rather, the

Business Plan was submitted at the Court’s request to assist the Court in determining whether

Raging Bull could operate lawfully and profitably while the litigation proceeds. Moreover, the

precise relief sought by the FTC in its Complaint and Motion to Show Cause is that Raging Bull

be ordered to operate going forward in compliance with Section 5 with the FTC Act. This is an

attempt to resolve that claim for relief.

III.   IN HIS RESPONSE TO THE BUSINESS PLAN, THE TEMPORARY RECEIVER
       OFFERS CONCLUSIONS FOR WHICH HE HAS NO QUALIFICATION OR
       EXPERTISE, BUT WHICH SUPPORTS THE FTC’S LITIGATION POSITION

       The Temporary Receiver’s Response to the Business Plan further reveals his assumed

role as advocate for the FTC, rather than as a neutral officer of the Court. As noted below,

despite having no expertise or qualification in the subject matter at issue, and despite going well

beyond his charge in the TRO, the Temporary Receiver advocates for the FTC’s claims, going so

far as to declare that the FTC’s claim against Raging Bull is “liquidated” – stating that the FTC’s

claim “is not ‘speculative’ because it has been filed and supported with many pages of

evidence in this lawsuit.” Dkt. 189, at 16 (emphasis added). Apparently, as far as the Temporary

Receiver is concerned, this case is over — and Raging Bull is guilty as charged.

       The Temporary Receiver also concludes, again without any expertise or qualification to

do so, that Raging Bull makes “earnings claims that are not substantiated or leave a false

impression, which appears to be the core of Raging Bull’s sales and marketing practices.” Dkt.

189, at 7. In supporting the FTC’s arguments, the Temporary Receiver parrots the FTC in

ignoring Dr. Wind, who concluded that Raging Bull’s advertising did not leave a false

impression with the typical member of the Raging Bull target audience, which is the relevant test

under FTC Act Section 5 in a case like this. The Temporary Receiver further ignores the




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evidence that “earnings” claims cited by the FTC in support were in fact substantiated and true.

Infra at 19.

IV.     THE TEMPORARY RECEIVER’S CONTINUED SUPPORT OF THE FTC’S
        LITIGATION POSITION

        The Temporary Receiver has on several occasions made requests of Raging Bull or its

former employees for documents and information for the purpose of supporting the FTC’s case

against Raging Bull, without any apparent purpose for the Temporary Receiver. For example, on

February 11th – after the Temporary Receiver had submitted his Initial Report and before Raging

Bull submitted its Business Plan – counsel for the Temporary Receiver made a direct request for

a large amount of information from a former Raging Bull employee who still had access to

Raging Bull’s records. The Temporary Receiver’s request was for detailed information on all

Raging Bull customers (including contact information, products purchased, cancellation

requests) and all of Raging Bull’s products and services (including dates each was offered, the

subscription terms, gross revenue, number of subscribers, total number and dollar value of

refunds per year). At this time, the Temporary Receiver had no need for this detailed information

as he had already filed his Initial Report. When Raging Bull learned of this request, it asked why

the Temporary Receiver needed it and whether the request came from the FTC. Counsel for the

Temporary Receiver would not answer this question, instead saying only that the information

requested was of interest to both the Temporary Receiver and the FTC and that he would share it

with the FTC. See Exhibit 2 hereto (2/16/21 email string between M. Saudek and D. Barger).

        Most recently, the Temporary Receiver’s advocacy for the FTC was again demonstrated

during the March 5th deposition of Defendant Kyle Dennis. During every break in the deposition,

counsel for the Temporary Receiver caucused and conferred in private with the FTC counsel. See




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Exhibit 3 hereto (D. Repking Declaration). Counsel for the Temporary Receiver did not ask any

questions of Mr. Dennis in the deposition. Id.

                                          ARGUMENT

I.     THE TEMPORARY RECEIVER IS NOT A MARKETING EXPERT AND
       CANNOT SERVE AS ONE FOR THE FTC

       The Temporary Receiver oversteps his experience and qualifications, as well as his

responsibility as temporary receiver, in reaching ultimate conclusions about Raging Bull’s

advertising and marketing practices. For example, the Temporary Receiver concludes that

Raging Bull makes “earnings claims that are not substantiated or leave a false impression, which

appears to be the core of Raging Bull’s sales and marketing practices.” Dkt. 189, at 7. In

supporting the FTC’s arguments, the Temporary Receiver blindly follows the FTC in ignoring

Dr. Wind, who concluded that the allegations made by the FTC in its Complaint about Raging

Bull’s advertising are unfounded.

       The Temporary Receiver is no doubt an experienced and capable lawyer whose career

has spanned numerous substantive areas, including matters involving health care, estates and

trusts, education, constitutional and civil rights, employment, environmental and professional

malpractice, investigations of nonprofit institutions and for governmental clients, and serving as

a receiver on multiple occasions for the FTC. Dkt. 3 at Attachment 1. Absent, however, is any

advertising and marketing practice experience of any type relevant to the issues presented in this

case. He also has no accounting expertise.

       This lack of experience or qualification notwithstanding, the FTC holds out the

Temporary Receiver’s findings and conclusions on Raging Bull’s marketing practices as

evidence to support its case and, in effect, tries to use those findings and conclusions in an empty

attempt to rebut the expert opinions of Dr. Wind. Indeed, noticeably absent from the FTC’s



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pleadings is any consumer study or report from an actual advertising and marketing expert to

quantify or substantiate its allegations or to address Dr. Wind’s expert report. Dr. Wind

evaluated empirical evidence on whether consumers were in fact deceived by Raging Bull and

suffered compensable injury. He found that the “FTC’s conclusions are based mostly on

speculation, through a few affidavits from customers, and from selective reference to a few ads

and marketing materials (without regard to whether they are fairly representative of Raging

Bull’s overall program or how much of the alleged consumer injury is attributable to these

specific ads).” Dkt. 126-2, at ¶ 25. Dr. Wind further concluded that the Company’s actual

advertising target audience and existing customer base would not materially rely on the alleged

historical misrepresentations in purchasing or upgrading Raging Bull subscriptions. Id. at ¶ 34.

       The FTC’s lack of any expert to offer an independent and reliable response to Dr. Wind’s

opinions leaves a substantial gap in the FTC’s case – a gap that the FTC could try to address by

offering up their own consumer perception expert, which the FTC does in many of its other

advertising and marketing cases – but in a telling manner has not done so here. The FTC

attempts to address this significant gap by instead relying on the Temporary Receiver’s own non-

expert analysis. For example, the FTC characterizes the Temporary Receiver’s conclusions in the

following manner:

   •   “[T]he Temporary Receiver’s investigation confirmed that Defendants have spent years
       making unlawful earnings claims and defrauding consumers.” Dkt. 188-1, at 1.

   •   “The Temporary Receiver also noted that “more than 2/3 of the marketing emails the
       receivership team reviewed” made deceptive earnings claims of the types alleged by the
       FTC.” Id. at 2 (citing Dkt. 156, at 53).

   •   “As background, the Temporary Receiver found a “sea change” would be required in the
       company’s ‘approach to legal compliance.’” Id. at 23 (citing Dkt. 156, at 105).

   •   “The ‘Temporary Receiver has not found any evidence to date of any meaningful efforts
       by Raging Bull to review advertising or marketing materials to prevent publication of



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          false or unsubstantiated earnings claims that violate Section 5 of the FTC Act.’” Id. at 24
          not 105 (citing Dkt. 156, at 60).

      •   The Temporary Receiver also found that “although the Company was placing some effort
          and resources in compliance, revenue growth and profits were a much higher priority.”
          Id. at 24 n.105 (citing Dkt. 156, at 63).

The FTC’s reliance on the Temporary Receiver in this fashion is misplaced and without basis.

The Temporary Receiver has not acted as an independent neutral and is certainly not qualified to

offer conclusions as to the validity of the FTC’s allegations of deceptive advertising. Moreover,

the Temporary Receiver has not been appointed as a “special master” by the Court but is a

Temporary Receiver whose main assignment was to identify and preserve assets. Defendants

respectfully submit that the ultimate decision on liability and damages is for the Court to decide,

not the Temporary Receiver.

II.       THE FTC’S FOCUS ON ALLEGATIONS OF RAGING BULL’S PRIOR
          CONDUCT IS IRRELEVANT AND FALSE

          The FTC dedicates more than half of its Response to attacking Raging Bull and the

Individual Defendants in an effort to distract from the actual issues at hand. Not only does the

FTC repeat prior allegations, it also adds many new alleged facts to make up for the allegations

that the FTC abandoned after Raging Bull exposed them as factually baseless and without merit.

But these allegations have absolutely nothing to do with what the Court explicitly directed the

FTC to do– to consider and to respond to the Business Plan proposed by Raging Bull. Indeed,

Raging Bull does not believe the Court meant that by granting the FTC an opportunity to respond

to Raging Bull’s Business Plan, the FTC was to instead use that opportunity to get in new

baseless evidence and posit new meritless allegations wholly unrelated to the task of addressing

Raging Bull’s Business Plan.




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       A.      The FTC Failed to Demonstrate that Raging Bull Deceived Consumers with
               False Statements

       Despite the voluminous filings and arguments by the FTC in this matter, the FTC has not

pointed to any instance in which Raging Bull made any earnings claims that were false or

actually misrepresented a guru’s or a subscriber’s trading performance. The FTC, of course,

began this case claiming that Raging Bull misrepresented its gurus’ trading profits. This claim

was based on solely Wermers’ error in analyzing trading profits. 5 Raging Bull’s expert, Greg A.

Kyle, demonstrated that Wermers was wrong – specifically, that there was no purported $56

million trading loss, and Jason Bond had a trading profit of over $500,000, not a loss of $7.5

million, from 2014 to 2018. Mr. Kyle also analyzed a sampling of the specific guru earnings

claims attacked by the FTC in its Motion to Show Cause, and concluded that those claims were

correct. Dkt. 126-1. Because the Temporary Receiver continues to claim Raging Bull sold its

products and services based on false earnings claims as alleged by the FTC, Raging Bull asked

Mr. Kyle to supplement his analysis to review additional guru earnings claims in the FTC’s

Motion to Show Cause. Mr. Kyle’s Supplemental Expert Report is attached as Exhibit 4 hereto.

       B.      The FTC Wrongly Suggests Raging Bull was “Alerted” that Its Advertising
               was Deceptive Before the FTC’s Lawsuit, Despite the FTC Never Once
               Informing Raging Bull the FTC Believes Its Advertising Was Deceptive

       The FTC suggests – and wants the Court to believe – that Raging Bull was previously

“alerted” to problems with its advertising by prior investigations and customer complaints. Not

only is the FTC wrong, but the opposite is actually true.




5
  In its Motion to Show Cause, the FTC argued Jason Bond’s earnings claims must be false
because such earnings would not be consistent with Wermers’ opinion that Mr. Bond “failed to
generate profits and incurred substantial losses over several years.” See, e.g., Dkt. 123, at 28-29
(citing Dkt. 2, at 9 n.38 (citing to ¶¶ 92 and 93 of Wermers’ report)).


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       On June 25, 2018, the SEC served voluntary document requests on Raging Bull and Mr.

Bond in connection with an informal, confidential SEC investigation. The SEC requested, among

other things, materials relating to advertising and certain earnings statements. Over a period of

months, Raging Bull and Mr. Bond voluntarily cooperated with the SEC and produced

responsive materials. In the two and a half years since Raging Bull and Mr. Bond produced these

materials to the SEC, including substantiation for earnings claims, the SEC never followed up,

never interviewed Mr. Bond, never asked for additional documents, never questioned the

substantiation of Mr. Bond’s earning claims, and never issued a testimonial or documentary or a

Wells notice. The FTC suggests the SEC’s investigation put Raging Bull on “alert.” In fact,

because the SEC never took any additional action after receiving extensive documentation and

numerous communications with counsel, the SEC plainly signaled that Raging Bull’s conduct

was not problematic. 6

       The FTC also claims that the New Hampshire Bureau investigation “alerted” Raging Bull

about its allegedly problematic advertising practices. But, again, the FTC mischaracterizes plain

facts. The New Hampshire Bureau’s investigation focused on whether Raging Bull was acting

within the publisher’s exemption of the state investment advisors act – an allegation not relevant

or at issue here. In March and April of 2020, Raging Bull had been negotiating a settlement with

the New Hampshire Bureau for the Company to continue operating as a non-registered business,

and which largely would not have impacted Raging Bull’s advertising practices, when the New

Hampshire Bureau surprisingly stopped settlement discussions in the spring of 2020. The New




6
  Among the materials produced to the SEC were Mr. Bond’s trading account statements, which
demonstrated that Mr. Bond was a profitable trader. Mr. Wermers did not review these account
statements, and did not recognize Mr. Bond’s trading profits, in his flawed expert report. See
Dkt. 123, at 13-16.


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Hampshire Bureau then brought its enforcement action on the same December 7, 2020 morning

as the FTC brought its complaint, strongly indicating that the FTC in the interim had put an end

to the New Hampshire Bureau’s open settlement discussions with Raging Bull.

       Furthermore, the FTC wrongly suggests that Raging Bull was “warned” by the Better

Business Bureau (“BBB”). The BBB, a private organization with no affiliation with the FTC or

any governmental organization, does not verify the accuracy of any information or complaints

that users submit. See https://www.bbb.org/terms-of-use. The FTC points to a 2017 letter from

the BBB, which asks for information from Raging Bull regarding fewer than a handful of

statements on the Company’s website to assess whether the statements conformed to the BBB’s

“Code of Advertising.” But this “Code” has no authority and “is provided solely to assist users in

exercising their own best judgment….” Id.

       The FTC also claims the 2017 BBB letter “pointed out that the BBB received numerous

complaints” about Raging Bull. But, according to the President and CEO of BBB New

Hampshire, Robert Shomphe, Raging Bull received 3 complaints in 2014, 1 complaint in 2015, 5

complaints in 2016, and only 6 complaints in 2017 – the year the FTC says the BBB “received

numerous complaints” about Raging Bull. See PX 22, 1494. The number of complaints increased

to 143 in 2020, which – as Raging Bull has demonstrated and the FTC has not rebutted – was

largely due to a COVID-related influx of complaints. See Dkt. 123, at 44.

       Further undermining the FTC’s argument is Mr. Shomphe’s acknowledgement that

Raging Bull’s BBB rating was a “B” in November 2019. See id. at 1496. The FTC points to

Raging Bull’s “F” rating from February 2018 to November 2019, but Mr. Shomphe explained

that this was because Raging Bull had been miscategorized by the BBB. See id. (stating that on

“November 5, 2019 [Raging Bull’s] rating changed from an “F” to a “B” and that “[t]his change




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was based on Raging Bull LLC providing BBB with updated and verifiable Gross Annual Sales

data in the form of their 2018 tax return, which placed them in a larger size category and lowered

the weight of the unanswered and unresolved complaints that were factored into their BBB

rating”). Indeed, according to Mr. Shomphe, Raging Bull’s rating was an “A-” at the time it was

downgraded in February 2018 to an “F”, and the downgrade occurred because Raging Bull was

miscategorized and had merely failed to respond to “at least one” customer complaint. Id. 7

       Despite the FTC’s spurious allegations, the fact is that Messrs. Bishop and Bond have

operated Raging Bull (and its predecessor company) for ten years. And all during that time they

have never once been sued and the Company has had essentially no consumer litigation (until a

recent TCPA matter) and never had a judgment entered against it. Neither the owners nor the

Company have ever filed for bankruptcy. There were no investigations of the company until

2018, with the SEC’s informal investigation and voluntary document requests. And the SEC did

not even pursue their investigation after the Company voluntarily cooperated and demonstrated

the substantiation and accuracy of its earning claims and advertisements. The only other

investigation of the Company was by the New Hampshire Bureau, and that investigation looked

into whether Raging Bull should be registered as an investment adviser.

       And yet, without any demand or warning from any governmental or regulatory agency to

do so, Raging Bull had been taking numerous significant steps on its own initiative to strengthen

its regulatory compliance practices. Dkt. 123, at 8-9. Both the FTC and the Temporary Receiver



7
  BBB’s rating system has long been of dubious value. See Terror Group Gets ‘A’ Rating From
Better Business Bureau? Consumer watchdog accused of running “pay to play” scheme with
grading system, Nov. 11, 2010 (https://abcnews.go.com/Blotter/business-bureau-best-ratings-
money-buy/story?id=12123843) (20/20 Investigative Report quoting Connecticut attorney
general Richard Blumenthal as saying the BBB rating system is “really unworthy of consumer
trust or confidence”). Indeed, many reputable companies have received “D” and “F” ratings by
the BBB (e.g., E*Trade, PlanetFitness, My Pillow, JetBlue, AMC Theaters, Fox Channels).


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try to hold this against Raging Bull, suggesting that Raging Bull’s efforts were not good enough

and serve to demonstrate that Raging Bull was not serious about compliance. But the FTC

acknowledges that Raging Bull was in fact taking serious steps to strengthen it compliance,

including “introducing a compliance manual in October 2019; hiring a compliance analyst in

January 2020; retaining Greenburg Traurig for compliance training in April 2020; auditing of

support phone calls in June and September 2020; and compliance training.” Dkt. 188-1, at 24.

And Raging Bull was taking all of these steps despite no “warning” that its compliance was

insufficient or that it was engaged in unlawful advertising.

       Indeed, Messrs. Bishop and Bond were never warned – not a single time – about its

advertising practices by the FTC, the federal government agency empowered to protect

consumers from deceptive advertising. There was not a single communication of any type

between the FTC and either the Company or the Company’s counsel relating to the FTC’s

apparently year-long investigation – a dramatic departure from the FTC’s longstanding practice

where FTC investigations commence through the issuance of a Civil Investigative Demand, a

voluntary request for production of information, or an informal inquiry. The absence of that is

meaningful because it gives the FTC – and a company under investigation – the opportunity to

“get the facts right,” which the FTC has meaningfully failed to do here. Instead, the FTC

ambushed Raging Bull with an enforcement filing on December 7th, without even properly

characterizing it, to either the Company or to counsel, as an ex parte action. Had the FTC simply

come to Raging Bull a year ago, when the FTC’s secret investigation appears to have begun,

Raging Bull, and Messrs. Bishop and Bond, would have done everything they could to ensure

that the Company assisted the FTC in its investigation and corrected, as needed, any shortcoming

in its regulatory compliance. And the FTC would have seen that the Company was already




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working on its compliance program – highly relevant because FTC Act Section 13(b) provides a

basis for injunctive relief only where a defendant “is violating, or is about to violate” a law

enforced by the FTC. But the FTC never gave Raging Bull that opportunity. 8

       Indeed, it is painfully clear that the FTC’s plan all along – despite the apparent lack of

approval by the Commissioners themselves in approving the filing of the Complaint here – has

been to shut down Raging Bull’s operations. The best way for the FTC to do that was to ambush

the Company, using the FTC’s enormous power under FTC Act Section 13(b) (a power which is

under significant scrutiny by the U.S. Supreme Court and which Supreme Court Justice Breyer

critically focused on in the January 13th hearing in the AMG Capital case) to choke the life out

of Raging Bull. Being permitted to implement the Business Plan that was requested by this

Court, and to operate lawfully as part of that, is now the Company’s last and best hope.

       C.      The FTC Continues to Misstate and Mischaracterize Facts that are Not
               Relevant to the Business Plan

       The FTC also puts forward new and irrelevant allegations in its Response to the Business

Plan relating to the company’s payment processors and online consumer reviews.



8
  The Temporary Receiver draws the conclusion that “Raging Bull’s approach to consumer
issues in the first decade seems to be combative rather than cooperative.” Dkt. 189, at 11. This is
not so. As explained above, Raging Bull has had very little litigation in its first decade. But,
where presented with litigation or potential litigation it has tried to resolve that litigation where
possible. As shown above, Defendants voluntarily submitted to an informal inquiry from the
SEC. It could have but did not require SEC staff to seek permission from the Commission to
open a formal investigation and obtain subpoena power before responding (and perhaps it never
would have needed to). When the company received notice of an investigation by the New
Hampshire Bureau, Raging Bull immediately tried to settle and work with the Bureau on a
framework to move forward. Most telling is that when Raging Bull’s new accountants made
them aware that because of the passage of a new tax law on internet providers they might have
sales taxes owing, the company quickly started a process to voluntarily pay the taxes. Raging
Bull had arguments to suggest taxes were not owing, and perhaps the taxing authorities would
have never approached the company, but they company acted proactively to pay the tax. And the
company has cooperated with the Temporary Receiver here and tried to reach common ground
with the FTC on this Business Plan and before, only to be treated combatively by the FTC.


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       The FTC contends that several payment processors dropped Raging Bull because of

excessive chargebacks. This is yet another false allegation by the FTC. Indeed, the FTC presents

no evidence that any payment processor terminated the relationship with Raging Bull due to

chargebacks. The FTC ignores the fact that Raging Bull had the same payment processor, Bank

of America, for nearly a decade. Raging Bull understands that Bank of America only terminated

this relationship in 2019 as part of a general purge of all accounts – which included Mr. Bishop,

holding an interest in a company, which was under SEC investigation. 9 One of the subsequent

payment processors, Stripe, terminated its relationship with Raging Bull in late 2020, likely

because of its contact with the FTC during the FTC’s secret investigation and the possible fear

created by the FTC that it could be sued by the FTC as an aider and abettor to the allegations

made by the FTC here against Raging Bull or as a relief defendant. 10

       Contrary to the FTC’s new allegations, Raging Bull did not lie to payment processors.

The FTC pores over payment processor applications and suggests it caught Raging Bull in lies to

obtain a new processing bank. But that is not what they found. For instance, the first instance

cited by the FTC is the following: “On September 23, 2020, in response to the following

question on a merchant account application: ‘[h]as Merchant or any Principal been terminated as

a Visa / MasterCard Merchant (TMF)?’ Raging Bull responded “No.” Dkt. 188-1, at 8. This was

accurate, and not a lie. As the FTC notes (id., at 6-7, n.26), Raging Bull learned it has been

placed on MasterCard’s temporary monitoring program for having 1.5% chargebacks. This was

not a termination and therefore Raging Bull correctly answered “no” to whether it had been



9
 For the avoidance of doubt, Mr. Bishop was in no way under investigation himself. To the best
of Raging Bull’s knowledge, no formal actions or proceedings ensued as a result of the
investigation.
10
   Raging Bull cannot confirm this, because it is not permitted under the TRO to take any
discovery before the hearing on preliminary injunction.


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“terminated as a Visa / MasterCard Merchant. And the fact this was a correct answer is plain

from the FTC’s own description of the materials it reviewed.

        The FTC also repeats its allegation that Raging Bull engaged in poor conduct in

connection with online consumer reviews on the TrustPilot website. The FTC grossly

mischaracterizes the facts, however. Indeed, as shown in Dr. Wind’s expert report and

unrebutted by the FTC or Temporary Receiver, there are thousands of positive unpaid

testimonials and customer reviews of Raging Bull on TrustPilot. Dkt. 126-2, at 68-71. Dr. Wind

also noted that TrustPilot employs a rigorous customer verification system that accurately

verifies actual customers and allowed Raging Bull to flag reviews that are not from verified

subscribers. In a highly competitive industry, with unscrupulous enemies – such as Emmett

Moore, the securities fraudster seeking “revenge” on Raging Bull and who is a dubious source

for the FTC’s case (Dkt. 46, at 2-4) –TrustPilot allows Raging Bull to weed out unverified

reviewers. Raging Bull denies the FTC’s allegation that it sought to remove knowingly verified

reviews, but even if that had occurred on some occasion this does not change the fact that

TrustPilot overwhelmingly demonstrates that Raging Bull’s subscribers value the Company and

its services.

III.    RAGING BULL’S COMPLIANCE PLAN ENSURES THE COMPANY WILL
        OPERATE ITS BUSINESS LAWFULLY

        A.      The FTC and Temporary Receiver Ignore the Role of the Independent
                Compliance Monitor, Which Ensures the Company Will Operate Lawfully
                Before Any New Consumer Advertising Can Occur

        Both the FTC and the Temporary Receiver fail to understand or appreciate the role of the

independent Compliance Monitor in Raging Bull’s proposed Business Plan. This is surprising, as

the FTC has frequently approved the use of compliance monitors for the same purpose as Raging

Bull lays out in its Business Plan, as noted below.



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        The Compliance Monitor will be appointed by the Court. Raging Bull will establish and

staff a Compliance Team, who will be subject to the final decision authority of the Compliance

Monitor with respect to all matters of compliance. Dkt. 177, at 11. The Compliance Monitor will

oversee Raging Bull’s work during Phase 1 to revamp and expand its advertising and compliance

infrastructure. This will include addressing the specific concerns the Temporary Receiver raised

in his Initial Report. Id., at 9-10.

        During Phase 1, while working with the Compliance Monitor to establish the policies,

procedures and practices for full operations, Raging Bull cannot engage in any advertising or

marketing to potentially new subscribers, and its communications with current subscribers will

contain no earnings claims, no consumer testimonials, no misrepresentations of any type

regarding Raging Bull’s services, and no solicitations of renewals or additional services. There

will be no activities during Phase 1 that could even possibly violate Section 5.

        The purpose for the significantly restricted operation during Phase 1 is to allow Raging

Bull the time to re-connect with its many thousands of loyal subscribers and to work under the

supervision of the Compliance Monitor to put its detailed compliance plan into place. Raging

Bull will not – indeed, cannot – move to Phase 2 until the Compliance Monitor and the Court

approve it. Specifically, when Raging Bull completes all Phase 1 steps, the Compliance Monitor

will conduct an audit of Raging Bull’s readiness to fully operate. Only if the Compliance

Monitor is satisfied that the compliance plan is comprehensive, compliant and sufficiently

detailed will the Compliance Monitor certify the satisfactory completion of Phase 1. At that time,

the Compliance Monitor will submit a written report to the Court, which will then determine

whether to approve the report. At that time – and no sooner – will Raging Bull be permitted to




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move to Phase 2. And if the Company moves to Phase 2, the Compliance Monitor will remain in

the same position until this litigation is resolved. 11

        B.      The Few Details Identified by the Temporary Receiver as “Missing” are
                Minor and Do Not Justify the Temporary Receiver’s Rejection of the
                Business Plan

        The Temporary Receiver contends the compliance plan is not sufficiently detailed to

allow him to evaluate whether Raging Bull will operate lawfully. This position ignores the

purpose of Phase 1 and the role of the Compliance Monitor, who will oversee the development

of all of the necessary details for the plan in Phase 1 and has the sole authority to recommend to

the Court that Raging Bull be allowed to continue to Phase 2. Indeed, the very purpose of the

Compliance Monitor and his/her involvement and authority is to dispel any legitimate concerns

the FTC and Temporary Receiver might have.

        Because the Temporary Receiver fails to understand Raging Bull’s two-phase approach

and the role of the Compliance Monitor, he criticizes minor details of the compliance plan that

are not germane to the task of determining whether Raging Bull can operate lawfully, or says

there are missing details that are, in fact, not missing.

        For example, the Temporary Receiver objects to the Business Plan having only the

“vague requirement” that the Chief Compliance Officer be available to work in the Baltimore

office, and not establishing a clear minimum number of compliance staff employees. Dkt. 189, at

5-6. Raging Bull doubts this level of detail is necessary or desired by the Court to be listed out in



11
  Contrary to the Temporary Receiver’s assertion, the Compliance Monitor would not literally
need to review every piece of advertising that was sent to consumers. Note, for comparison, that
on December 22, 2020, the Securities and Exchange Commission adopted amendments to Rule
206(4)-1—the “Advertising Rule”) under the Investment Advisers Act of 1940, creating a new
“Marketing Rule.” Although not directly applicable to Raging Bull, for reference, this Marketing
Rule permits testimonials, endorsements, and third-party ratings, subject to certain restrictions
and conditions.


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the Business Plan. Indeed, Raging Bull would expect that if it needs, for example, five rather

than four compliance staff employees, or if its Chief Compliance Officer should be physically

present in the Baltimore office at least four days a week, that is a detail that Raging Bull can

work out and run by the Compliance Monitor for approval in Phase 1. In any event, had the

Temporary Receiver simply asked, Raging Bull would have answered that the company

anticipates five compliance employees (including the Chief Compliance Officer) who report to

the Company’s general counsel. And the reason for leaving open the possibility of the Chief

Compliance Officer working at least some of the time remotely is to help the Company attract

the best candidate, including someone with extensive FTC experience, and perhaps from the pool

of legal candidates outside Washington, D.C. Although Raging Bull does not understand the

Court to be looking for this level of granularity, had the Temporary Receiver simply asked rather

than apparently seeking pretexts to oppose whatever the Company put forward as the FTC does,

Raging Bull would have provided these additional details.

       The Temporary Receiver also suggests the Business Plan is missing various details about

its future advertising. For example, the Temporary Receiver suggests an explanation is needed

about how Raging Bull’s “litigation posture” that it did not engage in deceptive advertising will

not undermine its compliance efforts. In fact, the Temporary Receiver, again simply parroting

the FTC, claims that he has “substantial concerns about the seriousness of commitment and

effectiveness of Raging Bull’s efforts.” Dkt. 189, at 5. But the lesson here is the opposite. Raging

Bull not only believes its pre-FTC lawsuit advertising practices were lawful, but submitted a

powerful, and unrebutted, expert report from Dr. Wind, who demonstrated that Raging Bull’s

target audience was not deceived by its advertising. The fact that, despite its strong defense on

the merits of this case, Raging Bull is willing to take all of the steps outlined in the Business




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Plan, willing to submit to the appointment of an independent Compliance Monitor who, with the

Court, alone holds the key to Raging Bull proceeding to Phase 2, and the fact that Messers.

Bishop and Bond will make $10 million of their own funds available to cover any shortfalls,

demonstrates to any unbiased observer just how serious their commitment is.

       To take one more example, the Temporary Receiver also claims that Raging Bull fails to

explain “whether its prohibition on misrepresentations concerns only the Company’s services or

whether the prohibition extends to gurus’ performance or subscribers’ purported performance.”

Dkt. 189, at 5 (“These mandates would be critical to understanding Raging Bull’s compliance

proposal.”). As the Temporary Receiver should know, Raging Bull has always had a clear and

definitive policy prohibiting misrepresentations. And, as demonstrated in Mr. Kyle’s

Supplemental Expert Report, all of the guru earnings claims attacked by the FTC in its Motion to

Show Cause were actually correct.

       If there is any remaining doubt, Raging Bull understands that any earnings claims made

in its advertising require substantiation and Raging Bull agrees to comply with this requirement

and all applicable rules going forward. Indeed, if it did not agree, the Compliance Monitor would

not certify Raging Bull’s completion of Phase 1 and the Company cannot engage in any

advertising or marketing activities of any type.

       C.      Raging Bull’s Compliance Plan is Consistent with Other FTC Matters

       The use of an independent monitor to evaluate, assess and report on the implementation

of a compliance plan has been frequently used by the FTC in other matters, so the FTC can take

no serious issue with a monitor being used here. In OTA, for example, the Court ordered a

monitor to review marketing materials and report to the Court on OTA’s compliance with a

Preliminary Injunction Order. FTC v. OTA Franchise Corporation, et al., No. 8:20-CV-00287




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JVS (C.D. Cal.), Preliminary Injunction (Apr. 2, 2020), Dkt. 130, at 18-19. In that case for

instance, the Monitor was tasked with, among other things:

         Identifying and reviewing the Monitored Entities’ marketing materials and other
         Documents that reflect the Monitored Entities’ marketing, advertising, promotion,
         offer for sale, or sale of their trading or investing training programs, including, but
         not limited to, radio ads, television ads, direct mail, email, search engine
         advertising, Internet banner advertisements, websites, online videos, webinars,
         social media, live sales events, recordings of live sales events, including
         recordings of franchisee-owned training centers’ events, handouts, slide decks,
         workbooks, telephone calls (both live and recorded), call logs, call detail records,
         and reports. The Monitor will determine the number of live sales events,
         recordings of live sales events, and calls to review. Id. at 18.

Raging Bull understands this to be in line with what an independent monitor and the Court would

expect, and the Company would willingly submit to this type of oversight—in line with

precedent and with whatever else the Court deems necessary based on the facts—as part of its

compliance plan to restore full operations. Raging Bull is confident that, in keeping with its

Business Plan, its consumer advertising and marketing practices will be deemed legal and

compliant by an independent Compliance Monitor, as a precondition to being approved by the

Court.

         It is also the case that the FTC must recognize that that the scope of the preliminary

injunction, and the surrounding measures that support it such as the imposition of a Compliance

Monitor, must be narrow and reasonable. In an appeal before the federal Ninth Circuit as to

whether the First Amendment precluded the issuance of a preliminary injunction against OTA

(where the court enjoined only deceptive or unsubstantiated advertising and marketing claims),

the FTC directly concedes this point. The FTC in that matter articulated that in order to regulate

commercial speech under the landmark Central Hudson case, it understood that the

constitutionality of its restrictions must satisfy a three-prong test evaluating: whether (1) “the

asserted governmental interest is substantial”; (2) “the regulation directly advances the



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governmental interest asserted”; and (3) “it is not more extensive than is necessary to serve that

interest.” FTC v. OTA Franchise Corp., Case 20-55356 (May 29, 2020), Answering Br. for the

FTC at 46-47 (citing 447 U.S. 557, at 566 (1980)).

       In defending the imposition of a compliance monitor, the FTC observed “[u]nder the

terms of his appointment, the monitor reviews appellants’ practices to ensure that they are

consistent with the district court’s order, and reports purported violations to the court. His focus

is on appellants’ sales and marketing materials, not their instructional activities.” Id. at 50

(citations omitted). Having established this, the FTC concluded “The monitor thus firmly

satisfies the Central Hudson factors because his role is directly related and reasonably tailored

to advance the substantial government interest in keeping appellants’ advertising honest and

consistent with the court’s restrictions.” Id. (emphasis added). Significantly for the present

matter, whereas OTA opposed the imposition of a Compliance Monitor on First Amendment

grounds in its FTC case, Raging Bull is willingly offering to submit to the use of a Compliance

Monitor as part of a Court-approved phased approach to restoring full operations. Raging Bull

respectfully submits that its Business Plan, in addition to being firmly in line with precedent,

demonstrates the Company’s clear desire to voluntarily submit its consumer advertising and

marketing practices to oversight—the oversight that other companies have flatly opposed.

       Independent monitors have been used in many other FTC cases as well. See, e.g., FTC v.

Western Union Co., No. 1:17-CV-0110 (M.D. Pa.), Dkt. 12 (Jan. 20, 2017), at 27-28 (appointing

an independent compliance auditor to review, assess, evaluate and report on Defendant’s with

the stipulated order for permanent injunction); FTC v. Herbalife Int’l of Am., No. CV16-05217

BRO(GJXx) (C.D. Cal.), Stipulated Order for Permanent Injunction, Dkt. 17 (July 25, 2016)

(same); FTC v. Telestar Consulting, Inc. et al., No. 2:16-cv-00555-SJO-SS (C.D. Cal.), Dkt. 38




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(Mar. 24, 2016) at 19 (directing and authorizing the Monitor to “Monitor the Defendants’

compliance with this Order by: (1) identifying and reviewing the Defendants’ marketing

materials, time sheets…reports and other documents that reflect the Defendants’ business

activities”). The FTC did not shut those companies down, but rather allowed them to operate

with an independent monitor, just as is described in Raging Bull’s Business Plan. The only

apparent difference is that here the FTC has no interest in any business plan that would allow

Raging Bull to operate.

       Strangely, the FTC seems to be arguing out of both sides of its mouth, saying whatever

seems to be convenient to suit its immediate purposes. Here, the FTC and the Temporary

Receiver criticize the Raging Bull Business Plan because it “lacks specificity” sufficient to

commit Raging Bull to lawfully operate and assure the Court of doing so. Yet in the OTA case,

where OTA made the same “lack of specificity” criticism of the FTC’s proposed Preliminary

Injunction language in that case, the FTC stated in its Opposition Brief that the FTC’s proposed

Preliminary Injunction provides “‘flexibility and reasonable breadth, rather than meticulous

specificity’ which is consistent with the law.” FTC OTA Opposition Brief in OTA at page 69

(case citations omitted) (notably, the FTC’s Opposition Brief in OTA was authored by one of the

FTC counsel in this case). Well, which is it? The FTC cannot have it both ways — changing its

views when convenient to fit the facts. We submit that the Raging Bull Business Plan has

sufficient specificity for the Court’s purpose here — and the company is happy to provide more

specificity as needed.

       D.      For the Court’s Consideration, Raging Bull Recommends Affiliated
               Monitors, Inc. to Serve as Compliance Monitor

       To further assist the Court in evaluating the Business Plan, Raging Bull has identified and

recommends Affiliated Monitors, Inc. (“AMI”) to act as the independent Compliance Monitor.



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Monitors from AMI have served as independent compliance monitors in numerous state and

federal matters, including matters involving the Federal Trade Commission. AMI has the

expertise and experience to act in this capacity. Raging Bull submits for the Court’s

consideration a representative list of recent federal cases for which AMI has served as an

independent monitor. See Exhibit 5. For context, AMI was jointly selected by the FTC and the

Defendant in the Herbalife case following a highly rigorous and public selection process. 12

Twenty-six organizations submitted applications to the FTC for consideration as the compliance

monitor, including a number of prominent national law firms, and AMI was selected for the

role. 13 FTC v. Herbalife Int’l of Am., Inc., Case. No. 16-cv-05217-BRO-GJSx (C.D. Cal), Dkt.

No. 18, Joint Notice of Selection of Independent Compliance Auditor, at 2. Given the stature and

experience that AMI possesses, and the fact that it has acted as a compliance monitor in FTC

matters before, Raging Bull respectfully submits that AMI could faithfully execute the

compliance oversight duties set forth in the Business Plan and in line with the Court’s

expectations and approval. Raging Bull proposes AMI based on past approval by federal district

courts and the FTC, or by selection of the Court based on recommendations by the FTC and the

Company.

       E.      The Compliance Monitor Will Ensure Raging Bull’s Customer Service,
               Refund and Cancellation Policies and Practices are Lawful

       Both the FTC and the Temporary Receiver also fail to understand or appreciate the role

of the Compliance Monitor concerning Raging Bull’s customer service, refund and cancellation


12
   See FTC Press Release, “FTC Seeks Applicants for Independent Compliance Auditor to
Assess Herbalife’s Compliance with Court Order,” Aug. 9, 2016, available at
https://www.ftc.gov/news-events/press-releases/2016/08/ftc-seeks-applicants-independent-
compliance-auditor-assess-0.
13
   See FTC Press Release, “Applications for Herbalife Independent Compliance Auditor,” Aug.
31, 2016, available at https://www.ftc.gov/public-statements/2016/08/applications-herbalife-
independent-compliance-auditor.


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policies and practices. The FTC once against suggests the Business Plan does not provide

sufficient details of exactly how Raging Bull will structure its refund and cancellation process.

Raging Bull again does not believe this granular level of detail is necessary in the plan requested

by the Court. More importantly, as stated in the Business Plan, all policies and procedures for

addressing refunds, renewal cancellations and complaints, which will be updated and developed

during Phase 1, will be subject to review and approval by the Compliance Monitor. Dkt. 177, at

11-12. If these policies and procedures are not sufficient for compliance, then the Compliance

Monitor will not certify that Raging Bull has completed Phase 1 and Raging Bull will never get

to Phase 2.

       Instead of acknowledging this structural protection, both the FTC and Temporary

Receiver criticize Raging Bull’s plan for not committing to certain practices that are not even

required by ROSCA. The FTC rejects Raging Bull’s plan because it would allow subscribers to

cancel by calling the Company’s customer service team. The FTC does not – and cannot –

contend this is anything but entirely consistent with ROSCA. The FTC’s position, instead, rests

entirely on its belief that Raging Bull cannot be trusted to comply. But whatever level of distrust

the FTC purports to have, the Compliance Monitor defuses this by having the expertise and

authority to ensure Raging Bull fully complies with ROSCA.

       Both the FTC and the Temporary Receiver also object to Raging Bull’s plan to honor

new refund requests only for those services that have a refund option. Dkt. 188-1, at 27; Dkt.

189, at 10. If ROSCA actually required all of Raging Bull’s services to have a refund option,

then the FTC and Temporary Receiver would have a reasonable criticism. But ROSCA does not

(see 15 U.S.C. § 8403(3) (requiring “simple mechanisms for a consumer to stop recurring

charges from being placed on the consumer’s credit card, debit card, bank account, or other




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financial account”)), and neither the FTC nor the Temporary Receiver provide any support for

their objection.

IV.    RAGING BULL’S BUSINESS CAN AND IS EXPECTED TO BE PROFITABLE
       PENDING RESOLUTION OF THIS CASE

       A.      Raging Bull Offers a Valued Service – Stock Market Trading Education – to
               Consumers to Meet what the FTC and Temporary Receiver Admit is a
               Strong Market Demand

       In claiming that Raging Bull has nothing of value to sell, the FTC shrugs off what has

always been the core business of Raging Bull – trading education. Raging Bull teaches

consumers how to trade stocks and options, focusing primarily on swing trading. This is what

Raging Bull’s advertising will focus on, because this is what Raging Bull will continue to do.

       Both the FTC and the Temporary Receiver acknowledge there is a market for what

Raging Bull offers. In its Initial Report, the Temporary Receiver noted there is a “strong public

interest in stock trading and, implicitly, education in trading.” Dkt. 156, at 105. The FTC admits

this as well, saying “no one contests” that a market demand exists for investment education. Dkt.

188-1, at 20. Raging Bull offers and will continue to offer products and services, and advertise

those products and services, to meet this market.

       This is why Raging Bull’s subscribers support Raging Bull, as illustrated by numerous

recent subscribers statements:

       Email #1:      I am a Raging Bull Subscriber. I have been a subscriber on and off
       for several years. I cannot say enough about the training and knowledge I have
       received from them. They work hard at training their customers. I have loved their
       program. I have a subscription where you can live trade with Nathan Bear and
       others. They are always telling customers that you need to have a strategy and exit
       plan. What works for some may not work for others. They give us the tools and
       then we have to have common since when using them. Since my subscription has
       been suspended, because of the FTC, I have joined a couple of other services. One
       service I belong to is not much different than Raging Bull except I made more
       money at Raging Bull. They have live training, rhetoric like Raging Bull, and
       enthusiasm. I cannot understand why Raging Bull is shut down if these others are
       still open.


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       Email #2:      I first discovered Jeff Bishop and Raging Bull via an ad on
       YouTube. I was watching an educational video explaining some of the
       terminology used for trading options in the stock market. I was looking for
       additional education about the market and, more specifically, about
       trading/buying/selling options. I was immediately attracted to Raging Bull’s
       services because I was looking for more education. I don’t remember which
       marketing event I was taken to, but I signed up for the newsletter and marketing
       materials. … I clearly understood that they were providing an education service
       and NOT investment advice; which is exactly what I looking for. I wanted to
       learn more about the stock market so that I could make investment decisions that I
       wanted to make.


       Email #3:       The service is designed around education. They offer multiple
       platforms for teaching stock market education. For most, this is the reason we
       choose to invest in their company. It is an individual choice to invest our own
       money into a company of our choice. There has been no false information
       provided by Raging Bull. Clearly, the information is presented by their members
       that they are not a financial advisor, and their stock recommendations come with
       risk.


       Email #4:       I signed up with RagingBull around mid August 2020. In just a
       few short months I gained an incredible amount of knowledge that I continue to
       use to trade the market. There is a huge amount of high quality training material
       available that I took full advantage of. I was watching at least 3-4 hours of
       training everyday for about 2 months. I went from knowing nothing to having
       enough knowledge to confidently find my own trades. I can honestly say that the
       education I received through Raging Bull was of higher quality than many of the
       college courses I took to obtain my BA degree.


       Email #5:       I would like to offer my observations on this action. I am a former
       CFP, educator and investment professional. In that capacity I have been a part of
       and have reviewed a vast number of trading plans and programs and I find Raging
       Bull to be legitimate. They are, primarily, an education service and as such serves
       their customers well. They breakdown technical analysis and charting into an
       understandable format.

See Group Exhibit 6 hereto.

       Both the FTC and the Temporary Receiver argue that Raging Bull relies entirely on its

trade alerts and earnings claims to sell its products, and both express doubt that Raging Bull can

succeed without them. For this point, the FTC relies on the Temporary Receiver’s stated



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recollection from his interview with Nathan Bear in which Mr. Bear purportedly said he was

unsure if Raging Bull could be successful without earnings claims and trade alerts. Dkt. 188-1, at

2. But this vague recollection is entirely devoid of details or context, including what question(s)

Mr. Bear was asked, what his actual answer was, whether he was specifically asked about

unsubstantiated earnings claim and trade alerts made before or after trades, and what other

related statements may have been made by Mr. Bear. The Temporary Receiver provided no

transcript or notes from his interview. And Raging Bull was not invited to and was not present at

the interview.

       In fact, the FTC and Temporary Receiver both overshoot the mark by suggesting that

earnings claims and trade alerts are inherently problematic and cannot be part of Raging Bull’s

Business Plan going forward. This position, however, is belied by the fact that advertising

products that include trade alerts and include earnings claims are not unlawful and are central to

how Raging Bull’s competitors operate every day. The real issue is rather that earnings claims

made in advertising need to be substantiated.

       To the extent the Temporary Receiver and FTC raise concern with unsubstantiated

earning claims, Raging Bull has agreed that it will not use unsubstantiated earnings claims in any

of its advertising, and will do no consumer-facing advertising of any kind until Phase 2. The FTC

and Temporary Receiver’s concern that Raging Bull will not be able to sell its products without

using earnings claims is demonstrably false, as any earnings claims made in Raging Bull’s

advertising will be substantiated. This is consistent with the trading education market, and is

used by Raging Bull’s competitors every day.




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       Furthermore, as indicated in the Business Plan, Raging Bull will modify its trade alert

practice such that all trade alerts will be made ahead of any buy or sell. Dkt. 177, at 7. This

change will address the concerns raised by the FTC and the Temporary Receiver.

       For instance, the FTC claims that by alerting trades after the guru buys or sells the stock,

the guru “front runs” trading activity to the guru’s benefit and the subscribers’ detriment. While

Defendants deny this actually constitutes “front running”, however, by alerting trades only

before the trade is made, there isn’t even a hint of “front running.” The FTC acknowledges this.

And although the FTC appears to suggest that even alerting trades before they are made remains

a “problem,” the FTC does not identify what exactly the “problem” is. Dkt. 188-1, at 19.

       The FTC (and Wermers) ignores the fact that real time trade alerts (whether made ahead

or after trades) are common in the trading education industry for the purpose of providing

education to subscribers. Raging Bull, like many of its competitors, teaches trading in part by

executing a trading strategy in real time, under real market conditions and without bias from

hindsight. Dkt. 123, at 5 (citing declarations of J. Bishop and K. Dennis). Thus, Raging Bull’s

gurus educate subscribers through a “teach by doing” method, providing real-time trading

examples. Id. (citing Bishop Decl. at ¶ 15. Dennis Decl. at ¶ 23). As Raging Bull pointed to in its

Business Plan, Jim Cramer of TheStreet.com – perhaps the market’s highest profile trading

educator – provides real time trade alerts made ahead of his trades. Dkt. 177, at 4-5. There is

nothing unlawful or wrong about trade alerts, despite the FTC’s and Temporary Receiver’s

stated, but unsupported, skepticism.

       And almost every one of the ads provided to the Temporary Receiver on January 29,

2021 promote real time trade alerts. Infra at 42. In other words, it is extremely common among




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competitors in the online trading education market. This is difficult to square with the Temporary

Receiver’s stated concern:

       Many subscribers have informed the Temporary Receiver that they bought Raging
       Bull subscriptions to receive the real-time trade alerts, so they can follow them.
       Raging Bull management and ownership have conceded that mirroring occurs.
       Offering real time trading alerts creates a risk of future legal exposure to claims
       and seems at odds with Raging Bull’s stated reliance on a learning management
       system.

Dkt. 189, at 7-8.

       The FTC also claims (joined by the Temporary Receiver) that Raging Bull deceives

consumers in its marketing by claiming or implying consumers will make money mirroring their

trades through trade alerts. Similar to their unfounded concerns about trade alerts, there is also

nothing unlawful about having subscribers who mirror trades. In fact, there are pure stock pick

companies operating that do nothing more than pick stocks and alert trades for subscribers to

follow. This is, of course, not what Raging Bull does, as it provides trading education services.

But the point is there is nothing inherently problematic or concerning about having subscribers

(or anyone else) mirror trades. 14

       Rather, the issue under FTC Act Section 5 is that trade alerts and the possibility of trade

mirroring cannot be deceptively marketed. As the Business Plan makes clear, Raging Bull will

not engage in any deceptive advertising. And Raging Bull will use prominently-placed “clear and

conspicuous” disclaimers to counter any possible misimpression. Moreover, this is fully

addressed in the Business Plan with the role of the Compliance Monitor, who will not allow

unlawful advertising to be sent to consumers. This is the safeguard in the Business Plan to ensure

consumers are not misled or deceived.


14
  It is of course common for investors to mirror the trades of other investors or pundits. Warren
Buffett knows his trades are followed by investors, and that this parallel trading might influence
the price of stock he trades. But Warren Buffett, of course, is not defrauding investors.


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       B.      The Temporary Receiver Inexplicably Ignores the Large Number of
               Competitor Advertising Examples, Similar to Raging Bull’s Own, that
               Raging Bull Provided to Temporary Receiver Before He Submitted His
               Initial Status Report

       In its Business Plan, Raging Bull provided a sampling of the types of products and

advertising of Raging Bull’s competitors. Dkt. 177, at 3-6. These materials demonstrate that

Raging Bull’s competitors advertise using earnings claims, feature real time trade alerts and

claim their services help subscribers make money in the market. Id. Again, there is nothing

unlawful or problematic about this advertising, which the FTC allows in the marketplace every

day.

       The Temporary Receiver concedes that online trading education companies operate and

advertise in compliance with Section 5. Dkt. 189, at 7. However, the Temporary Receiver

downplays the advertising examples provided in the Business Plan by saying it only consists of a

“single statement” in a Motley Food ad “about a portfolio being ‘up 712%.’” Id. The Temporary

Receivers says this ad is distinguishable because it includes an earnings claim about “overall

performance of a portfolio, rather than any specific trade, and so actually establishes a record of

earnings success that can be substantiated.” Id. On this basis alone, the Temporary Receiver

concludes that Raging Bull failed to establish that its competitors’ marketing bears similarity to

its own.

       What is remarkable about this dismissiveness of the samples provided in the Business

Plan is that the Temporary Receiver knows full well there is no shortage of comparable ads made

by competitors in the market. The Temporary Receiver knows this because on January 29, 2021,

Raging Bull sent to counsel for the Temporary Receiver a 47-page document full of competitor

advertisements, featuring: earnings claims, including earnings claims on single trades; promotion

of real time trade alerts; stock and options trading educational materials; both short-term stock



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recommendations; stock pick services; ads saying “we do the research for you” “simple

strategies that could more than double your returns”, “learn how I turned $12,415 into $6,56,287

trading stocks”, “It doesn’t matter where you live, it doesn’t matter your schedule … You don’t

even have to be that smart, or that great at math, it doesn’t matter if you have a lot of money, or a

little, it doesn’t matter if you know anything about the stock market”, “you don’t need a large

account to start”; use of disclaimers; live trading communities; etc.

       For the convenience of the Court in reviewing the competitor advertising materials that

the Temporary Receiver has had since January 29, the 47-page document is attached as Exhibit 7

hereto. More recently, Raging Bull has compiled additional competitor advertisements that

further demonstrate that the company’s competitors utilized advertising similar to Raging Bull.

A group exhibit of these additional advertisements is attached as Exhibit 8 hereto. This group

exhibit also includes a handful of Raging Bull advertisements highlighting the company’s focus

on trading education. To illustrate the types of advertisement in this group exhibit, below are a

few examples:




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       C.      The Recent Change in Accounting Methodology Does Not Change the Fact
               that Raging Bull Has Always Been Profitable

       The Temporary Receiver and his expert argue that Raging Bull will not be profitable in

part because they claim that Raging Bull has never been profitable, based on their use of an

inapplicable accounting method. In his initial report, Mr. Peroutka opined that Raging Bull was

never profitable from 2016 to 2020, has always been burdened with a huge negative net equity,

and paid its partners and Mr. Dennis $59 million in distributions from “unearned income.”

However, Raging Bull’s expert, A. Christine Davis, demonstrated conclusively that Mr. Peroutka

was wrong.

       Based on her analysis of the Company’s financials and the application of the actual

accounting methodology used by Raging Bull up to the second quarter of 2020, Ms. Davis

concluded that Raging Bull has always been profitable and all distributions were paid from

earned income.


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       From the inception of the Company, Raging Bull has funded its growing operations from

strong internal positive cash flows. Raging Bull has no outside investors, no debt to third parties,

and no public shareholders. And yet, it had the cash available to appropriately pay all

distributions from earned income throughout the Company’s history. This is a profitable

company. Indeed, the FTC does not even dispute this. Dkt. 188-1, at 21.

       Mr. Peroutka’s initial report was deeply flawed because he applied the wrong accounting

methodology, accrual-basis accounting, despite the fact he had access to Raging Bull records that

made it clear he was wrong because the Company used cash-basis accounting. In his second

report, Mr. Peroutka tacitly acknowledges his mistake by no longer claiming the Company used

accrual-basis accounting. In its place, however, Mr. Peroutka now claims that Raging Bull used

“modified cash-basis” accounting before 2020, but did so incorrectly in how it handled

distributions. In essence, Mr. Peroutka continues to claim the Company has never truly been

profitable because it paid those distributions. However, Mr. Peroutka is wrong again; the

Company did not use “modified cash-basis” accounting, as Ms. Davis demonstrates. Exhibit 10

at 6-11.

       In his Response to the Business Plan, the Temporary Receiver discusses at length the fact

that Raging Bull presently has a large negative net equity position. Dkt. 189, at 12-15. While the

Temporary Receiver emphasizes how “huge,” “massive” and “severe” this negative equity

position is, he nonetheless recognizes, as he must, that this negative equity position matters only

from “an accounting standpoint.” Id. at 13.

       The Temporary Receiver and Mr. Peroutka both pin their arguments that Raging Bull will

not be profitable going forward on the payment distributions. The fact that Messrs. Bishop and

Bond have committed not to take any distributions until the Company satisfies its current




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liabilities and obligations and resumes profitable operations once again should allay these

concerns.

       D.      Raging Bull’s Expectation on Retaining Paid Subscribers Over Time is
               Reasonable

       In its Business Plan, Raging Bull projects that it will retain approximately 30,000 paid

subscribers over time. Both the FTC and the Temporary Receiver incorrectly suggest that Raging

Bull arrived at this number based on the percentage of “supportive” emails Raging Bull and the

Temporary Receiver have received since the lawsuit. This is not so. Raging Bull knows its

subscribers and knows its business. And just like any other business would do, Raging Bull drew

on its knowledge and experience to project its expected subscriber base going forward.

       Furthermore, the Temporary Receiver’s contention that only 37% of subscribers who

emailed the Company or Temporary Receiver are supportive of Raging Bull is wrong and plainly

designed to mislead the Court. The Temporary Receiver arrives at this percentage by baselessly

claiming that all subscribers who requested a refund or cancellation after the FTC’s lawsuit were

not supportive of Raging Bull and “have had their fill of the Company.” Dkt. 156, at 88.

       In his Response to the Business Plan, the Temporary Receiver reported that he and the

company received 1,493 refund requests after the FTC lawsuit was filed. Dkt. 189, at 18. On

March 3, 2021, Raging Bull requested the Temporary Receiver immediately produce these 1,493

refund requests. Exhibit 1 (3/3/21 email fr. B. Doran). At first, counsel for the Temporary

Receiver agreed to produce the 1,493 documents. Id. (3/4/21 email fr. M. Saudek). Subsequently,

counsel for the Temporary Receiver said he would only provide the refund requests that were

sent directly to the Temporary Receiver, telling Raging Bull to go find the requests sent to

Raging Bull itself despite the fact that the Temporary Receiver has full access to the emails and,

presumably, segregated the refund requests to arrive at his specific count of 1,493. Id. (3/6/21



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email fr. M. Saudek). Raging Bull finally received only approximately 1,150 emails in total from

the Temporary Receiver. Based on undersigned counsel’s review, the breakdown of these emails

(in approximate numbers) is as follows:

       310 emails – refund/cancellation requests, w/ negative comments re RB
       305 emails – refund/cancellation requests, neutral or no comments re RB
       30 emails – refund/cancellation requests, positive re RB
       175 emails – no refund/cancellation request, positive re RB

       As this demonstrates, the Temporary Receiver sent only approximately 640 emails with a

refund or cancellation request. 15 And more than half were not negative.

       These emails make clear, however, that the Temporary Receiver’s presumption that all

subscribers who requested refunds or cancellation are unhappy with Raging Bull and “have had

their fill of the Company” is flatly untrue. Most refund requests, so far as Raging Bull can

discern from the small sample the Temporary Receiver provided, simply ask for the refund or

cancellation without saying anything negative about the Company:

       Email #6:      I am only concerned about my subscriptions with Raging Bull. I’d
       only like to know at this point when and how I will be receiving my refund for
       services not rendered.


       Email #7:      How do we ensure that we aren’t charged again for the next
       subscription payment? This is an automatic payment and obviously whilst the
       company isn’t operating, I want to ensure that customers aren’t being charged for
       upcoming subscriptions.


       Email #8:      I am a fairly recent subscriber to the Raging Bull services. As I
       don’t have a lot of history with the company, I do have some recent credit card
       charges for services that appear will not continue to be provided. Would I be
       wrong to challenge those credit card charges with my credit card company since
       the services were interrupted due to the lawsuit?


15
  The Temporary Receiver produced additional documents at 9:13 p.m. ET on March 9, 2021,
mere hours before this Reply brief was due to be filed. Raging Bull does not have time to review
the materials that have been produced and reserved the right to supplement this Reply as
necessary based on any materials just produced.


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See Group Exhibit 6.

       The Temporary Receiver’s own numbers show that twice as many subscribers were

happy with Raging Bull than were unhappy. Dkt. 156, at 88 (1650 positive emails; 888 negative

emails). And while the Temporary Receiver tries to explain away the significance of this by

saying these emails were in response to two solicitations for positive reviews by the Company,

the Temporary Receiver is wrong. In fact, the second email sent to subscribers did not solicit

positive reviews. See Exhibit 9 hereto (second email sent by company to subscribers after the

FTC lawsuit). In addition, the Temporary Receiver fails to account for the fact that all of these

subscribers emailed the company shortly after the FTC brought its highly publicized lawsuit

claiming Raging Bull is “permeated with fraud” and bilked its subscribers out of $137 million.

Getting positive reviews from subscribers after the federal government made those accusations

gives those positive reviews even more weight.

       In addition, many subscribers who enjoyed Raging Bull’s services nevertheless asked for

a refund, unsurprisingly, simply because the Company was compelled to shut its services down.

This is not surprising, as even the happiest subscribers may reasonably want their money back

knowing that Raging Bull may never operate again. There are examples of this, which the

Temporary Receiver ignored:

       Email #9:       I am a happy client of Raging Bull. I do not believe that I was
       defrauded. I paid things and began to receive value, but the simple fact is that I
       paid $15,194 in total for a lifetime elite membership. If the business is not able to
       provide that beginning one month after I finished my payment plan, then I believe
       that I am entitled to a full reimbursement from the assets of the business.


       Email #10:    I was satisfied with my very short subscription to the service. Now
       because of government action my expensive subscription lasted only six weeks - I
       want my money back. The service organization is not bankrupt, it has simply been




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       accused of acting badly. If the service is being forced to discontinue operations,
       subscribers should be refunded the prorated amount of their subscriptions.


       Email #11:       I am a recent subscriber of 2 lifetime services, in which I am fairly
       satisfied with and would like to continue. If they do not continue, I should be
       entitled to that money back. I imagine there are plenty of others just like me who
       the courts would be stealing from if Raging Bull is forced to cease their services
       without full compensation to the subscribers.

See Group Exhibit 6.

       All of this supports Raging Bull’s reasonable and conservative projection that

approximately 30,000 of its paid subscribers will continue with Raging Bull over time.

       E.      The Temporary Receiver’s Position on Contingent Liabilities is Biased and
               Incorrect

       As noted above (supra at 14), the Temporary Receiver views the FTC’s claims as

“liquidated” and “not speculative.” He reaches this conclusion because he believes the FTC’s

claims are “supported with many pages of evidence in this lawsuit.” Dkt. 189, at 16. Of course,

in his advocacy for the FTC, the Temporary Receiver ignores the “pages of evidence” that

Raging Bull has already discredited. It is simply untrue and inappropriate for the Temporary

Receiver to view the FTC’s claim for $137 million, or more, in damages as “liquidated.”

       The Temporary Receiver’s pro-FTC view sullies his analysis of contingent liabilities. In

particular, the Temporary Receiver continues to claim that Raging Bull’s Business Plan must

show the company will be profitable even if it is liable for $137 million in damages to the FTC.

But the Court asked Raging Bull for a business plan to lay out how Raging Bull can operate

lawfully and profitably up to the resolution of the case. Considerations of the ultimate outcome

of this matter are irrelevant. Indeed, there is nothing in the Complaint or TRO suggesting that

Raging Bull will be allowed to operate only if its profitability is so high as to cover the full

redress for all present and past subscribers as if the FTC’s claims have been proven. Such a view



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would make it impossible in almost all cases, and certainly this case, for a defendant to operate at

all. That cannot be, and is not, the rule.

        The Temporary Receiver asks the wrong question. Whether or not Raging Bull is

permitted to re-start operations, the case will be resolved and the FTC’s claim will be adjudicated

or settled. The right question, and the question posed by the Court, is whether Raging Bull and

operate profitably in the time period before the case is resolved. As Raging Bull has already

demonstrated, allowing the company to re-start its operations is part of the solution, as it would

generate revenue and dramatically reduce the Company’s potential liabilities by eliminating the

need or desire for refunds or cancellations for many of its subscribers, most of whom support

Raging Bull and wish to continue as subscribers. Dkt. 177, at 17. Killing the company

permanently will decrease assets and increase liabilities. 16 The Temporary Receiver’s only

response to this is to suggest assets could be lost if the company operates but fails to be

profitable. Raging Bull’s Business Plan, which reasonably forecasts profitability by the end of

each of the next three years, responds to that concern.

        F.      The Temporary Receiver Grossly Overstates the Impact of Honoring
                Outstanding Refund Requests on Raging Bull’s Profitability

        In the Business Plan, Raging Bull states that, during Phase 1, it will “address the backlog

of outstanding refund requests that have not been addressed since the TRO was entered [and

g]oing forward, the Company will promptly honor all new refund requests for services that have

a refund option and promptly address on a case by case basis new refund requests for services

without a refund option.” Dkt. 177, at 11.




16
  Permanently shuttering the company will also harm the thousands of subscribers who value
and want Raging Bull’s services. The Temporary Receiver makes no mention of their interests.


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       In his Response to the Business Plan, the Temporary Receiver misunderstands this and

grossly overstates the amount of refunds that would need to be paid. The Temporary Receiver

makes a series of baseless assumptions and significant errors, culminating in his conclusion that

the refund liabilities of the company will prevent Raging Bull from operating profitably because

those liabilities will far exceed the cash on hand.

       First, the Temporary Receiver assumes that every one of the 1,493 subscribers seeking

refunds will continue to seek a refunds after the company re-starts operations. But, as noted

above, many subscribers who have contacted the company or the Temporary Receiver for

refunds have asked only because the service was shut down following the TRO. A fair analysis

would account for the number of refund requests that would be rescinded if the services are

permitted to continue.

       Second, the Temporary Receiver claims that the average refund requested is $4,826 for

the 1,493 customers seeking refunds. The Temporary Receiver provides no evidence for this

number. And the Temporary Receiver either could not or would not provide to Raging Bull all of

the emails seeking these refunds. Supra at 48.

       Third, the Temporary Receiver assumes that every subscriber who seeks a refund is

entitled to a refund. It is on this assumption that he calculates a $7.2 million refund liability

immediately upon re-start (1,493 x $4,826). But most of Raging Bull’s services do not have a

refund option. And many of those services that do have a refund option allow for a refund only

within the first 30 days. Of the 1,493 subscribers who have asked for refunds, only a small

fraction of those would be entitled to a refund.

       Fourth, the Temporary Receiver knows that most services, by their clear terms, do not

allow for a refund. But the Temporary Receiver conflates the business reality of implementing a




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clear and lawful refund policy (in which only those subscribers who are entitled to a refund on

the service terms would receive a refund) with his assumption that the FTC’s claims are

“liquidated.” The Temporary Receiver says the following:

       The Company contends that subscribers are eligible for refunds only if a refund was
       made available as part of the specific serv ice purchased by the consumer. If consumers
       were deceived into entering into a subscription, though, those consumers should be
       entitled to refunds, regardless of whether the subscription service they purchased
       expressly provided for a refund.

Dkt. 189, at 18. This is the completely wrong analysis. Raging Bull’s Business Plan is a plan to

operate the business pending the outcome of the litigation – exactly as the Court requested. This

means refund requests are treated according to their terms, and not under the assumption that the

FTC claims will be proven and those refunds must be accounted for as part of preliminary

injunctive relief. The Temporary Receiver is viewing refund requests as liquidated claims for

recovery of amounts subscribers were deceived into paying. This is the same error the

Temporary Receiver makes with respect to the “liquidated” $137 million contingent liability

based on the FTC’s claims. This is buy-in on the FTC’s claims.

       Fifth, the Temporary Receiver misunderstands Raging Bull’s Business Plan and assumes

the company expects to lose 50,000 present subscribers who will be in a position to demand a

refund. The Temporary Receiver uses this number to estimate how many additional subscribers,

on top of the 1,493 already identified, will demand refunds. But, as noted above, the Temporary

Receiver misunderstands the Business Plan, which projects the company will retain

approximately 30,000 paid subscribers who will buy new services over time. Raging Bull did not

and does not expect 50,000 subscribers to decline to continue the services they have already paid

for once the company re-starts. In fact, most of these subscribers are more likely to complete

their present subscription and simply not purchase any new subscriptions.




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       Sixth, to make its point more dramatically, the Temporary Receiver extrapolates out to

what the refund liability would be based on his assumptions that all refund requests must be paid.

The Temporary Receiver concludes that Raging Bull’s refund liability could be as high as

$100,000,000 if just 20,000 subscribers requested refunds. Dkt. 189, at 19. But under this

analysis, and given his understanding that there are potentially 200,000 current and former

subscribers who could seek refunds, 17 if all 200,000 subscribers sought refunds then Raging

Bull’s refund liability would be as high as $1 billion. 18 But according to the FTC’s own

allegations, Raging Bull’s subscription-based revenues comes nowhere close to that amount. The

only conclusion can be that the Temporary Receiver’s assumptions and calculations are

unsupported, massively overstated and, therefore, worthless.

       G.      Raging Bull’s Business Plan is Reliable

       The Temporary Receiver presents two arguments attacking the reliability of the Business

Plan. Both arguments fail.

       First, the Temporary Receiver misunderstands the basis for Raging Bull’s anticipated

revenues. In the Business Plan, Raging Bull conservatively projects that approximately 30,000 of

its present subscribers would continue with the company over time and renew their memberships

when they come due or purchase new and additional services. Dkt. 177, at 14. The Temporary

Receiver argues this number is overstated, but his reasoning is flawed. He relies on his mistaken

calculation that only 37% of subscribers who emailed the company or the Temporary Receiver

since the FTC lawsuit was filed viewed Raging Bull favorably. But, as detailed above, the




17
   This number is the combination of the company’s 80,000 present subscribers plus the 120,000
former subscribers who the Temporary Receiver believes could seek refunds that would need to
be paid. Dkt. 189, at 19-20.
18
   200,000 subscribers x $5,000 average refund amount.


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Temporary Receiver’s calculation is false and misleading. In fact, there are twice as many

positive emails than negative emails, according to the Temporary Receiver’s own assessment.

       The Temporary Receiver also definitively states that gurus Kyle Dennis, Nathan Bear,

and Ben Sturgill “do not intend to continue employment with the Company if operations are

allowed to continue.” Dkt. 189, at 22. Even if none of them were to return, this would have no

impact because the company’s projections were made under the conservative assumption that

none of Messrs. Dennis, Bear or Sturgill would return. However, since the time of the Receiver’s

Response, all three have informed Raging Bull that they have not foreclosed the possibility of

rejoining Raging Bull under the appropriate circumstances should the Court permit Raging bull

to re-start operations. Mr. Dennis confirmed this on the record in his March 5, 2021 deposition.

See Exhibit 3. If all or any of these three gurus chooses to return to the company, this would only

stand to increase the profit forecasts. And if Mr. Dennis elects not to return, his service would

still be able to continue because Mr. Bond would provide fulfilment for that service. Mr. Bond,

of course, taught Mr. Dennis how to trade and Mr. Dennis has affirmed that his strategy is based

off of what he learned from Mr. Bond. Dkt. 124 at ¶ 4.

       Second, Mr. Peroutka says Raging Bull significantly understated the projected expenses.

But his projection of an $18.5 million negative cash flow in the first year is flawed. Based on her

careful analysis, Ms. Davis concluded Mr. Peroutka materially overstating the adjusted “cash

costs” relating to payroll, advertising and costs of goods sold (including credit card fees) due to

his fundamental lack of understanding the business or the Business Plan. Second Supplemental

Expert Report of Bates Group LLC and A. Christine Davis as Exhibit 10 hereto, at 18-25. In

particular, Mr. Peroutka bases his estimation of advertising and payroll costs on prior years and

fails to take into account how and to what extent the company will move forward as a scaled




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back operation. Ms. Davis concludes that Raging Bull will likely generate a positive cash flow of

approximately $11.8 million during the first year after operations re-start, including $1.8 million

of cash receipts in the first month, $2.4 million in the second month and $3 million in the third

month. Id. at 12-25. These projected profits are carried through into the second and third years of

the Business Plan. As this demonstrates, if permitted by the Court to operate, Raging Bull will be

profitable during and up to the time of trial or resolution of matter.

                                          CONCLUSION

       For the reasons stated herein, Defendant RagingBull.com, LLC and Individual

Defendants Jeffrey M. Bishop and Jason Bond respectfully submit this Reply in further support

of the RagingBull.com, LLC Business Plan. Defendants greatly appreciate the opportunity to

prepare and submit this Business Plan and supporting reply brief for the Court’s consideration.


Dated: March 9, 2021                                   Respectfully submitted,

                                                       RagingBull.com, LLC, Jeffrey M. Bishop
                                                       and Jason Bond

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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 9th day of March 2021 a true and accurate copy
foregoing RagingBull.com, LLC Reply in Support of Its Business Plan, was properly served on all
parties through the ECF system.

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